        Case 1:18-cv-03572-BPG Document 28 Filed 06/14/19 Page 1 of 2
                         UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 NORTHERN DIVISION
______________________________________
                                          :
Kathrina Ali,                             :
                                          : Civil Action No.: 1:18-cv-03572-BPG
                                          :
                    Plaintiff,            :
        v.                                :
                                          :                                                  (
MiraMed Revenue Group, LLC; and DOES 1- :
10, inclusive,                            :                                                  (
                                          :                                                  D
                    Defendant.            :                                                  R
______________________________________ :                                                     H
                               STIPULATION OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective undersigned counsel, pursuant to FRCP 41(a)(1)(A)(ii), that the above-captioned

action is hereby dismissed in its entirety with prejudice and without costs to any party.



Dated: June 14, 2019

 Kathrina Ali                                  MiraMed Revenue Group, LLC

 ___/s/ Sergei Lemberg__________               __/s/ Nabil G. Foster___________

 Sergei Lemberg, Esq.                          Nabil G. Foster, Esq.
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_____________________________
SO ORDERED
       Case 1:18-cv-03572-BPG           Document 28       Filed 06/14/19      Page 2 of 2


                                CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2019, a true and correct copy of the foregoing Stipulation
of Dismissal was served electronically by the U.S. District Court for the District of Maryland
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.
                                             By_/s/ Sergei Lemberg
                                                   Sergei Lemberg, Esq.
